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    EXHIBIT B
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                                Patent Claims Analysis
                                          of
US10127818 B2: "Systems and methods for detecting and avoiding an emergency vehicle in
                 the proximity of a substantially autonomous vehicle"


                                        against
                          Lyft and Motional- Self Driving Cars
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CLAIMS
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US10127818 B2                  Lyft and Motional - Self Driving Cars
Claim 1


1. A system comprising




                               <https://www.lyft.com/self-driving-vehicles/engineers>
                               <https://www.lyft.com/self-driving-vehicles/passengers>
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            <https://www.lyft.com/self-driving-vehicles/passengers>




            <https://play.google.com/store/apps/details?id=me.lyft.android&hl=en_US>

            Lyft - Self Driving Cars is/has a system.
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US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


a processor and a non-transient
computer-readable storage
medium,

wherein the processor and the
non-transient computer-readable
storage medium are at least one of
connected or communicatively
coupled via a data channel,




                                     <https://www.lyft.com/self-driving-vehicles/engineers>

                                     Commentary: Lyft provides Self Driving Cars (system) for ride sharing. The self
                                     driving cars of LYFT are equipped with Intel hardware (processor and memory)
                                     having some software instructions stored (programming instruction) which would
                                     help an autonomous vehicle to operate. The processor and memory are coupled to
                                     process the stored instruction in every computer.
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US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


the system comprising:

program instructions stored on the
non-transient computer-readable
storage medium, the non transitory
program instructions operable to
during a first time period:




                                     <https://blog.lyft.com/posts/2017/9/6/lyft-partners-with-driveai>

                                     Commentary: Lyft provides Self Driving Cars (system) for ride sharing. The self
                                     driving cars of LYFT are equipped with Intel hardware (processor and memory)
                                     having some software instructions stored (programming instruction) which would
                                     help an autonomous vehicle to operate. The processor and memory are coupled to
                                     process the stored instruction in every computer.
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US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


process a first pre-determined
location for the a substantially
autonomous vehicle to navigate to,




                                     <https://www.lyft.com/self-driving-vehicles/passengers>

                                     Commentary: Lyft provides Self Driving Cars can be used for ride sharing. A user can
                                     enter his pick up location (predetermined location) and book a ride. After receiving
                                     the ride, the autonomous vehicle will reach to your specific pick up point.
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US10127818 B2                            Lyft and Motional- Self Driving Cars
Claim 1


wherein the first pre-determined
location is retrieved at least in part
from a first electromagnetic signal,
and further wherein the first pre-
determined location corresponds
to an first input signal registered at
a first user-interface of a first
mobile communications device
being physically separate to the
substantially autonomous vehicle;




                                         <https://www.lyft.com/self-driving-vehicles/passengers>



                                         Commentary: Using Lyft app installed on a mobile device (first user interface of
                                         mobile communications device), a user can define its pick up location (first
                                         predetermined location). The data packets sent from the mobile device and
                                         consisting of pickup location is converted to electromagnetic signals (Wi-Fi or
                                         Cellular) and transmitted to a cellular base station. The radio waves are sent by the
                                         cellular base station via multipath signals (electromagnetic waves) to a receiving
                                         antenna of an Lyft Autonomous vehicle
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US10127818 B2                      Lyft and Motional- Self Driving Cars
Claim 1


initiate a first path planning;




                                   Before the autonomous vehicle can reach a pickup, the vehicle will have to plan a path.
                                   Plaintiff contends that Autonomous Vehicles are equipped with maps, pre-loaded into its
                                   system allowing the vehicle to find a pickup Current location to Palo alto Clatrain
                  Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 12 of 25



US10127818 B2                    Lyft and Motional- Self Driving Cars
Claim 1


navigate the substantially
autonomous vehicle towards the
first pre-determined location;




                                 The autonomous vehicle then navigates to the pickup location using maps with a
                                             3 minutes
                     Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 13 of 25



US10127818 B2                       Lyft and Motional- Self Driving Cars
Claim 1


process an interruption signal
retrieved at least in part from a
second electromagnetic signal,




                                    <https://take.lyft.com/open-platform/>
                                    <https://play.google.com/store/apps/details?id=me.lyft.android&hl=en_US>




                                    https://help.lyft.com/hc/e/all/articles/115012922687-Cancel-and-no-show-policy-for-riders

                                     cancel a ride                                      cancel ride
                                    electromagnetic signal from your phone to Uber to the Autonomous vehicle will be
                                    sent.
                    Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 14 of 25



US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


wherein the interruption signal
interrupts the substantially
autonomous vehicle from
navigating to the first pre-
determined location: and further
wherein the interruption signal is
processed



                                     https://help.lyft.com/hc/e/all/articles/115012922687-Cancel-and-no-show-policy-for-riders

                                                                 Cancel the ride
                                                                        The driver is on their way (means that the vehicle is
                                     already going to the first location before the change or cancellation happens.
                   Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 15 of 25



US10127818 B2                       Lyft and Motional- Self Driving Cars
Claim 1


immediately prior to processing a
first braking instruction



                                    <https://help.lyft.com/hc/en-us/articles/115012922687-Cancellation-policy-for-passengers>

                                    Plaintiff contends the Lyft software, for example         instructions are then
                                    transformed by the system controller into a set of instructions for steering, brake
                                                                 can process a braking instruction.
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US10127818 B2                    Lyft and Motional- Self Driving Cars
Claim 1


and a first data decrypting
instruction




                                 <https://help.lyft.com/hc/en-us/articles/115012922687-Cancellation-policy-for-passengers>

                                 The interruption signal to cancel a scheduled ride is processed immediately prior to a first
                                 braking instruction that is used to stop the vehicle from arriving at the first predetermined
                                                                               3G, 4G, LTE                              service
                                 to the vehicle, to stop the vehicle.
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US10127818 B2                         Lyft and Motional- Self Driving Cars
Claim 1


and immediately consecutive to
processing a control data packet:

recognize the interruption signal
corresponds to a third party
system foreign to the substantially
autonomous vehicle; and

wherein the interruption signal is
indicative of a cancellation of a
requirement for the substantially
autonomous vehicle to navigate to
the first pre-determined location,
and




                                      <https://help.lyft.com/hc/en-us/articles/115012922687-Cancellation-policy-for-passengers>

                                                                                                              mobile
                                      network      cancel
                                      pickup location (prior to braking instruction). The ride cancellation command is sent
                                      over the network in the form of a data packet which is then received by a self driving
                                      car antenna. All the instructions are being decrypted and processed by autonomous
                                      vehicle software.
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US10127818 B2                          Lyft and Motional- Self Driving Cars
Claim 1


further wherein the interruption
signal corresponds to an second
input signal registered at the first
user-interface of the first mobile
communications device;

immediately and ire direct
response to the processing of the
interruption signal,




                                       <https://developer.lyft.com/reference#ride-request-cancel>

                                       Commentary: To Cancel a ride from the Lyft App, User needs to tap cancel button
                                       from its mobile device. The request from the mobile device reaches to server for
                                       further processing.
                    Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 19 of 25




US10127818 B2                         Lyft and Motional- Self Driving Cars
Claim 1


process a second pre-determined
location for the substantially
autonomous vehicle to navigate to
and perform a second path
planning for the second pre
determined location, wherein the
second pre-determined location is
retrieved at least in part from a
third electromagnetic signal and
further

wherein the second pre-
determined location corresponds
to a second input signal registered
at a second user-interface of a
second mobile communications
device being physically separate to
the substantially autonomous
vehicle:

                                      <https://www.lyft.com/self-driving-vehicles/passengers>

                                      Commentary: Multiple user having the Lyft App on their device can request a ride.
                                      Each user having a different Lyft Account (user interface) on a different mobile
                                      device (mobile communication device) can enter a new pickup location (pre-
                                      determined location) instructing the vehicle to navigate. The data packets sent from
                                      the mobile device and consisting of pickup location is converted to electromagnetic
                                      signals (Wi-Fi or Cellular) and transmitted to a cellular base station.
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US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


program instructions stored on the
non-transient computer-readable
storage medium, the non-
transitory program instructions
operable to during a second time-
period:




                                     <https://www.lyft.com/self-driving-vehicles/engineers>

                                     Commentary: The self driving cars of Lyft are equipped with Intel hardware
                                     (processor and memory) having some software instructions stored (programming
                                     instruction) which would help an autonomous vehicle to operate.
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US10127818 B2                           Lyft and Motional- Self Driving Cars
Claim 1


process a third-predetermined
location for the substantially
autonomous vehicle to navigate to,

wherein the third predetermined
location is retrieved at least M part
from a fourth electromagnetic
signal and further

wherein the third pre-determined
location corresponds to a third
input signal registered at a third
user interface of a third mobile
communications device being
physically separate to the
substantially autonomous vehicle:

initiate a third path planning;

navigate the substantially              <https://www.lyft.com/self-driving-vehicles/passengers>
autonomous vehicle towards the
third pre-determined location:          Commentary: Multiple user having the Lyft App on their device can request a ride.
                                        Each user having a different Lyft Account (user interface) on a different mobile
                                        device (mobile communication device) can enter a new pickup location (pre-
                                        determined location) instructing the vehicle to navigate. The data packets sent from
                                        the mobile device and consisting of pickup location is converted to electromagnetic
                                        signals (Wi-Fi or Cellular) and transmitted to a cellular base station. The radio waves
                                        are sent by the cellular base station via multipath signals (electromagnetic waves) to
                                        a receiving antenna of an Lyft Autonomous vehicle
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US10127818 B2                  Lyft and Motional- Self Driving Cars
Claim 1


identify an emission that
corresponds to an emergency
vehicle from an aspect of a
captured empirical data        https://motional.com/news/driverlessed-chapter-7-outside-your-ride

                               Lyft self-driving cars are equipped with many sensors (cameras, radar, Microphones
                                                                      sirens                        emergency
                               vehicle                                                             that would need
                               to be placed outside the car.
                  Case 7:24-cv-00051-DC-DTG Document 1-2 Filed 02/19/24 Page 23 of 25




US10127818 B2                  Lyft and Motional- Self Driving Cars
Claim 1


manoeuvre the substantially
autonomous vehicle to avoid
obstructing a route of the
emergency vehicle; and




                               <https://www.theverge.com/2018/1/2/16841090/lyft-aptiv-self-driving-car-ces-2018>
                               <https://medium.com/swlh/a-beginners-guide-to-self-driving-cars-5bbc2bb798d4>




                               https://autonomous.lyft.com/wp-content/uploads/2020/06/Safety_Report_2020.pdf



                               Plaintiff contends the autonomous vehicle makes predictions as to other vehicle routes
                               around it and pedestrians in order to decide its own route. So, if an emergency vehicle
                               comes into the vicinity, a similar route prediction analysis will be made by the self driving
                               vehicle in order to determine its own course of action. Self-driving cars are equipped with
                               cameras and sensors which can enable the autonomous vehicle to manoeuvre and avoid
                               for example manoeuvre capabilities obstructing a route of an emergency vehicle for
                               example,
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US10127818 B2                        Lyft and Motional- Self Driving Cars
Claim 1


wherein the manoeuvre occurs
wherein the substantially
autonomous vehicle is greater than
20.2 to 22.5 meters from the third
pre-determined location, and

wherein the manoeuvre is
performed at a speed of between
0.0001 km/h and 130 km/hr.




                                     <https://www.theverge.com/2018/1/2/16841090/lyft-aptiv-self-driving-car-ces-2018>
                                     <https://medium.com/swlh/a-beginners-guide-to-self-driving-cars-5bbc2bb798d4>




                                     https://desimonelawoffice.com/blog/how-long-does-it-take-to-stop-a-moving-
                                     vehicle/#:~:text=One%20going%2025%20mph%20will,the%20square%20of%20its%20
                                     velocity.
                                     Plaintiff contends that Lyft and Motional Self driving Cars or any autonomous
                                     vehicle, has the capability to manoeuvre around vehicles on the way to its
                                     destination (means the distance to destination is greater than 20.2 22.5 meters).

                                     km/hr). Hence the manoeuvreing must also be occurring in the defined speed limit.
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                                             20 mph will travel about 64 feet before stopping
             about 20.2 meters to stop safely, therefore it would make sense for an autonomous
             vehicle to only manoeuvre, if the distance to a pick up location is greater than 20.2-
             22.5 meters.
